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4                          UNITED STATES DISTRICT COURT
5                        SOUTHERN DISTRICT OF CALIFORNIA
6
7    UNITED STATES OF AMERICA,                   CASE NO.: 22CR1244-DMS
8                        Plaintiff,
                                                 ORDER CONTINUING
9          v.                                    MOTION HEARING
10
     JOSE DELORES FLORES,
11
                          Defendant
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14         Pursuant to joint motion, and GOOD CAUSE APPEARING, IT IS HEREBY
15   ORDERED that the motion hearing in Case No. 22CR1244-DMS is continued from
16   November 10, 2022, to January 13, 2023, at 11:00 a.m.
17         IT IS FURTHER ORDERED that time is excluded from November 10, 2022,
18   to January 13, 2023, in the interest of justice.
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20   Dated: 11/07/22                   _______________________________
                                       HONORABLE DANA M. SABRAW
21                                     United States Chief District Court Judge
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